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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

                                       - - -

        AMGEN, INC.,                      :   CIVIL NO. 16-853
        et al.,                           :
                           Plaintiff      :
                                          :
                                          :
                                          :
                                          :
                                          :
               v.                         :   UNDER SEAL
                                          :
                                          :
                                          :
                                          :
                                          :
                                          :
        AMNEAL PHARMACEUTICALS,           :   Philadelphia, Pennsylvania
        et al.,                           :   June 13, 2019
                       Defendant          :   2:06 p.m.

                                       - - -

                         TRANSCRIPT OF ORAL ARGUMENT
                 BEFORE THE HONORABLE MITCHELL S. GOLDBERG
                        UNITED STATES DISTRICT JUDGE

                                       - - -

        APPEARANCES:

        For the Plaintiff:       JOHN MURNANE, ESQUIRE
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                                                                         2

    1   Audio Operator:           Stephen Sonnie

    2   Transcribed By:           Michael T. Keating

    3                                 - - -

    4             Proceedings recorded by electronic sound
        recording; transcript produced by computer-aided
    5   transcription service.

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    1                (The following was heard in open court at

    2   2:06 p.m.)

    3                THE COURT:   Hello.

    4                ALL:   Good afternoon, Your Honor.

    5                THE COURT:   Tentative response.

    6                ALL:   Good afternoon, Your Honor.

    7                THE COURT:   Have a seat.     I have a lot of

    8   papers I need to organize, so just bear with me for a

    9   second.

   10                (Pause in proceedings.)

   11                THE COURT:   Okay.    This case, the

   12   controversy here involves two parties in a larger

   13   case, Amgen versus Amneal, but the parties here are

   14   Plaintiff Amgen and Sun.       Who is here on behalf of

   15   Amgen?

   16                MR. BLUMENFELD:    Good afternoon, Your

   17   Honor.    Jack Blumenfeld from Morris Nichols, John

   18   Murnane from the Venable Firm --

   19                MR. MURNANE:    Good afternoon, Your Honor.

   20                MR. BLUMENFELD:    -- Josh Rothman from the

   21   Venable Firm.

   22                MR. ROTHMAN:    Good afternoon.

   23                THE COURT:   Nice to see you again.      And

   24   just because I'm so bad on names, the two of you are

   25   going to argue, right?       So spell your last names
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                                                                         4

    1   again, please.

    2               MR. MURNANE:     Murnane, —U-R-N-A-N-E.

    3               THE COURT:    Great.

    4               MR. ROTHMAN:     Rothman, R-O-T-H-M-A-N.

    5               THE COURT:    Okay.    Go ahead.

    6               MR. BLUMENFELD:      Behind me, Eric Agovino

    7   from Amgen, A-G-O-V-I-N-O, James Tyminski from

    8   Venable, T-Y-M-I-N-S-K-I.

    9               THE COURT:    Nice to see you.

   10               MR. BLUMENFELD:      I'm glad I can do that.

   11               THE COURT:    Yes.

   12               MR. BLUMENFELD:      And behind them, Lisa

   13   Russo, who is from Venable and Lois Kwasigroch from

   14   Amgen.

   15               MS. KWASIGROCH:      Good afternoon.

   16               THE COURT:    I remember you.      How are you?

   17               MR. BLUMENFELD:      Thank you, Your Honor.

   18               THE COURT:    All right, thank you.      And who

   19   is here for Sun?

   20               MR. GATTUSO:     Good afternoon, Your Honor.

   21   Dominic Gattuso from Heyman Enerio Gattuso --

   22               THE COURT:    Spell it.

   23               MR. GATTUSO:     I'm sorry, G-A-T-T-U-S-O.

   24               THE COURT:    -- S-O.    Go ahead.

   25               MR. GATTUSO:     And I have with me Clay
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                                                                         5

    1   Holloway --

    2               THE COURT:    Mr. Holloway.

    3               MR. GATTUSO:     -- from Kilpatrick Townsend.

    4               THE COURT:    Okay.

    5               MR. GATTUSO:     Thank you.

    6               THE COURT:    Okay.   So first thing before I

    7   forget is someone, I think you folks, want me to seal

    8   the courtroom I think.       I don't -- I know some of the

    9   folks here.     I don't know who those two people are,

   10   and this is just a summer clerk and --

   11               MR. HOLLOWAY:     They're with Sun, Your

   12   Honor.

   13               THE COURT:    -- this is the assigned law

   14   clerk.    So there's -- I don't think there's anyone in

   15   the courtroom -- who are you, sir?

   16               MR. AUTEN:    Your Honor, my name is Steve

   17   Auten.

   18               THE COURT:    And you're with?

   19               MR. AUTEN:    I'm not counsel for either Sun

   20   or Amgen.

   21               THE COURT:    Okay.   Sounds like you want to

   22   be cryptic on who you're with or --

   23               MR. AUTEN:    Well, I don't represent nobody

   24   active in the case, but I do represent Alkem

   25   Laboratories in the settle -- with respect to the
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                                                                         6

    1   settlement on the same product.

    2               THE COURT:    Settlement on the same product.

    3   But you're not -- you're not with a party in the

    4   case, you're just --

    5               MR. AUTEN:    That's correct, Your Honor.

    6               THE COURT:    All right.    So we should

    7   discuss -- I don't know how we do it with him in the

    8   courtroom, but we should --

    9               MR. HOLLOWAY:     Well --

   10               THE COURT:    -- discuss whether we have to

   11   seal the courtroom, right?

   12               MR. HOLLOWAY:     This is --

   13               THE COURT:    Do you want to press that

   14   point?

   15               MR. HOLLOWAY:     I mean I -- my only -- my

   16   only statement, Your Honor, is the parties entered

   17   into a confidential settlement agreement.          You can

   18   tell from what we agreed to and redacted --

   19               THE COURT:    I just want to know do you want

   20   to press the point?      Do you want the courtroom

   21   sealed?

   22               MR. HOLLOWAY:     That would be our request,

   23   Your Honor, yes.

   24               THE COURT:    Okay.   So I'm sure everyone

   25   just read -- and I think it's Third Circuit case law
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    1   would apply on sealing issues in a patent case, but

    2   maybe the Federal Circuit case law applies if someone

    3   has a different view.      But if it's Third Circuit,

    4   there's a very recent Third Circuit case that just

    5   came out that really spells out clearly

    6   confidentiality and sealing.        So to the extent that

    7   you agree Third Circuit case law applies to the

    8   sealing issue, do you?

    9               MR. HOLLOWAY:     We do, Your Honor.

   10               THE COURT:    Okay.   So that's the Avandia

   11   case and it's a very clear pronouncement, I think a

   12   continuation of what Panzy (ph) said, which is the

   13   presumption is public access, very strong

   14   presumption, and statements like -- and I'm going to

   15   give you a chance to expand, but statements like,

   16   "Well, the parties entered into a confidentiality

   17   agreement," are not sufficient.        I mean you're -- if

   18   you're moving, you're going to have to -- it's your

   19   burden to prove harm if we keep the courtroom open.

   20   So saying we entered into a confidentiality agreement

   21   is not even close, in my judgment, to meeting that

   22   burden.    So I mean sort of -- it's going to be

   23   difficult to discuss it while the public is still in

   24   the room.    Can you articulate the harm without

   25   causing the harm?
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    1                MR. HOLLOWAY:    Your Honor, we're actually

    2   find just going forward.

    3                THE COURT:   Okay.

    4                MR. HOLLOWAY:    We can withdraw -- we can

    5   withdraw the request or you can just rule against it

    6   so we don't --

    7                THE COURT:   Well, I mean it's not an

    8   either/or.    I'm happy -- I'm happy to -- I'm not

    9   broadcasting to you that I disagree with you.           I'm

   10   just saying we have a Third Circuit standard that I'm

   11   going to have to comply with.        I'm happy to talk it

   12   through, figure out a way to talk it through, if you

   13   want the courtroom sealed.        So it's your decision.

   14   What do you want to do?

   15                MR. HOLLOWAY:    The --

   16                THE COURT:   Do you want to press that point

   17   or not?

   18                MR. HOLLOWAY:    The harm to us, Your Honor,

   19   to Sun --

   20                THE COURT:   Do you want to press that point

   21   or not?

   22                MR. HOLLOWAY:    I would just -- yes, I'm

   23   going to make one position on this.

   24                THE COURT:   Okay.

   25                MR. HOLLOWAY:    We are competitors with the
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                                                                         9

    1   gentleman who is here.

    2               THE COURT:    (Indiscernible).

    3               MR. HOLLOWAY:     And we don't know what their

    4   settlement agreement looks like.

    5               THE COURT:    Okay.

    6               MR. HOLLOWAY:     We know what our settlement

    7   agreement looks like and we know the implications to

    8   Sun depending on how Your Honor rules on our motion

    9   and the case that we've brought.

   10               THE COURT:    Yes.

   11               MR. HOLLOWAY:     There is a competitive

   12   disadvantage to Sun in terms of us going to market

   13   and what we want out of our motion to the extent that

   14   others would try to read into what we're doing and

   15   follow in similar suit.       So --

   16               THE COURT:    And that's the harm that

   17   you're -- you think meets your burden under the

   18   Avandia case, is that correct?

   19               MR. HOLLOWAY:     That would be our only

   20   argument other than the parties entered into a

   21   confidentiality agreement, Your Honor.

   22               THE COURT:    Well, it's an argument with I

   23   think the needed substance.       So you've made that

   24   argument, so yes, you're pressing your request to

   25   seal the courtroom or not?
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     1               MR. HOLLOWAY:    Yes, Your Honor.

     2               THE COURT:    Yes.   Okay.   Does anyone else

     3   want to be heard, including -- I'll hear what you

     4   have to say.

     5               MR. AUTEN:    Yes, Your Honor, Mr. Auten, A-

     6   U-T-E-N.    I don't think there's any confidentiality

     7   concerns here whatsoever because of the agreements in

     8   this case, of which my client has its own.          All the

     9   terms are substantially similar, so to the extent

    10   that --

    11               THE COURT:    Well, how do you know?      Do you

    12   have the agreement in this case?

    13               MR. AUTEN:    No, I've been involved in these

    14   cases long enough that the brand controls the

    15   drafting of the settlement agreement, and most of the

    16   agreements, they file that template and they're all

    17   going to contain substantially the same language.

    18               THE COURT:    Well, you don't know what this

    19   says.

    20               MR. AUTEN:    I --

    21               THE COURT:    You don't know what the --

    22   we're here to discuss --

    23               MR. AUTEN:    I obviously do not know --

    24               THE COURT:    -- a settlement agreement, and

    25   you don't know what the settlement agreement says.
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                                                                        11

     1               MR. AUTEN:    No, of course I don't know

     2   that.

     3               THE COURT:    Yes.    Okay.

     4               MR. AUTEN:    I have not seen the agreement

     5   per se.

     6               THE COURT:    Okay.

     7               MR. AUTEN:    The best I -- the best I know

     8   it -- I can offer is that the brand offers the

     9   template up in negotiations and carries it through

    10   (indiscernible) with each defendant.         And we've also

    11   seen from the Teva case that's been published mostly

    12   in the record already with the dispute involving

    13   Teva.

    14               THE COURT:    Okay.    Okay.   I'm inclined to

    15   seal the courtroom because I think that under

    16   Avandia, Sun makes out their burden to establish harm

    17   in that they've articulated that the outcome of my

    18   ruling here could allow competitors to know when they

    19   may launch, and that could cause them harm, which I

    20   believe is enough under the Avandia case.         But if

    21   you -- if you disagree -- I mean if you disagree and

    22   you want to press the point, then we got to talk

    23   about well, you know, maybe we have to litigate the

    24   sealing, you know, because there's a -- there's a

    25   party of interest from the public who wants to stay
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     1   in the courtroom.     And I'm reticent to kick anyone

     2   out of a public courtroom.

     3                MR. AUTEN:   Your Honor, I do want to press

     4   the point.    We already have notice that they have an

     5   intent to launch the product.       They just have an

     6   agreement -- they have a disagreement with Amgen in

     7   terms of the meaning of that agreement on whether

     8   they can do that.     It's very clear in their papers

     9   that Sun believes it has a right to launch this

    10   product.    And, in fact, under the terms of their

    11   agreement, we were provided notice that Sun gave to

    12   Amgen of its intent to launch the product.          So --

    13                THE COURT:   Yes, so -- but you're not a

    14   party in this case?

    15                MR. AUTEN:   We were at one point.      My

    16   client has settled -- has the same -- has the

    17   settlement agreement --

    18                THE COURT:   Were you --

    19                MR. AUTEN:   -- with Amgen.

    20                THE COURT:   Who is your client again?

    21                MR. AUTEN:   Alkem, A-L-K-E-M, Alkem

    22   Laboratories.

    23                THE COURT:   And Alkem was -- remembering

    24   this was Judge Sleet's case originally, so my memory

    25   is not so great as to who originally came into this
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                                                                           13

     1   case.   I walked into it in the middle of a trial or

     2   right before a trial.      So Alkem was an original

     3   defendant when the case was filed, is that right?            Is

     4   that right?

     5               MR. MURNANE:    Yes, Your Honor.

     6               THE COURT:    You're the plaintiff.       They

     7   were?

     8               MR. MURNANE:    Yes.

     9               THE COURT:    Okay.    Okay.   So would it --

    10   and what's your last name again, sir?

    11               MR. AUTEN:    It's A-U-T-E-N.

    12               THE COURT:    A-U-T --

    13               MR. AUTEN:    Echo, November.

    14               THE COURT:    A-U-T --

    15               MR. AUTEN:    E-N.

    16               THE COURT:    E-M, as in Mitch?

    17               MR. AUTEN:    No, Echo and November.

    18               THE COURT:    Echo, November.     Okay.    Do you

    19   think your rights to access would be preserved if I

    20   were to say I do think they've made out their burden

    21   under Avandia, but I'll provisionally seal the

    22   transcript here and, of course, entertain your motion

    23   to have me unseal it so you would have access?          Would

    24   that be satisfactory to you?

    25               MR. AUTEN:    Well, I'd certainly would like
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                                                                        14

     1   to attend today's hearing.        That's my objective

     2   today.

     3               THE COURT:    Attend what?

     4               MR. AUTEN:    The hearing today.     I'd like --

     5               THE COURT:    Yes.

     6               MR. AUTEN:    In person.

     7               THE COURT:    Okay.

     8               MR. AUTEN:    I don't -- I took by your

     9   statement that you were going to seal the courtroom

    10   and then provisionally allow me access to the

    11   transcript.

    12               THE COURT:    Yes, but I would add -- yes,

    13   provisionally allow you access if you could convince

    14   me that my ruling was in error and I provide you with

    15   an opportunity to do that.        So seal the courtroom,

    16   transcript is under seal, you can file a motion with

    17   me, tell me that I'm wrong and it shouldn't have been

    18   sealed, and if I agree with you -- this way you get

    19   your due process -- and if I agree with you, I'll

    20   unseal and I'll hear from Sun in a more detailed

    21   fashion.    I'm just trying to be practical because

    22   everyone is here and I want to go forward with the

    23   hearing, and --

    24               MR. AUTEN:    Right.

    25               THE COURT:    -- I think -- I think that that
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                                                                        15

     1   preserves -- I'm asking you do you believe that that

     2   preserves your client's rights to seek access to

     3   what's going to go on here?

     4                MR. AUTEN:   Yes.

     5                THE COURT:   You're good with that?      Okay.

     6   Then the courtroom is sealed.        I'm going to

     7   respectfully ask you to leave.        And why don't -- you

     8   know, file whenever -- I'm going to file the

     9   transcript under seal, and file whatever motion you

    10   want to file.     Whenever you file it, we'll get their

    11   response, and if you're right and my initial ruling

    12   is wrong, then you'll get access to the transcript,

    13   okay?

    14                MR. AUTEN:   Thank you, Your Honor.

    15                THE COURT:   All right, thank you.

    16                (Pause in proceedings.)

    17                THE COURT:   Mr. Sonnie asked if I wanted

    18   him to lock the courtroom.        Chain it, padlock it.

    19   Thank you.    Okay, I think we're good.       All right, so

    20   that takes care of that issue.

    21                I think there are two issues here, but I

    22   want to -- and they both come under the provisions of

    23   the settlement agreement.        But I have some

    24   preliminary questions I want to get answered.          Very

    25   preliminary, and I couldn't find it -- I probably
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                                                                        16

     1   missed it three times -- when does the 504 patent

     2   expire?   I'm sorry, 405.     It's 405, right?

     3               (Pause in proceedings.)

     4               THE COURT:    See, now I don't feel so bad.

     5   Everyone is scrambling to find the answer.

     6               MR. MURNANE:    It's the fall of 2026, Your

     7   Honor.

     8               THE COURT:    Fall of 2026, okay.     All right.

     9   Well, this is Sun's motion, right?

    10               MR. HOLLOWAY:    Yes, Your Honor.

    11               THE COURT:    So I have a bunch of questions.

    12   Why don't you just step to the podium and make your

    13   argument?    And counsel who have appeared before me

    14   before know I'll most likely interrupt you when

    15   questions pop into my head, and apologies in advance

    16   for those interruptions.

    17               MR. HOLLOWAY:    And, Your Honor, I have just

    18   paper copies that are excerpts to various provisions.

    19               THE COURT:    Yes.

    20               MR. HOLLOWAY:    It might be easier than

    21   flipping constantly.

    22               THE COURT:    Yes, thank you.

    23               (Pause in proceedings.)

    24               MR. HOLLOWAY:    So I'm going to just start

    25   on what is slide 2 of the second page.         So there are
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                                                                           17

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     2                                        .   The agreement at issue

     3   has                                                  .   When

     4   Sun and Amgen reached an agreement

     5                            ,

     6

     7               There was also a provision

     8

     9                                   t.

    10               So the three scenarios here

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    18               THE COURT:       The agreement what?

    19               MR. HOLLOWAY:       The agreement

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    21               THE COURT:       But the        --

    22               MR. HOLLOWAY:

    23               THE COURT:

    24

    25               MR. HOLLOWAY:
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                                                                        18

     1                                                           that

     2   is correct.

     3               THE COURT:    Okay.

     4

     5               MR. HOLLOWAY:    They're --

     6               THE COURT:    The product is out there.

     7               MR. HOLLOWAY:

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    12               THE COURT:    Right.

    13               MR. HOLLOWAY:    Amgen and Piramal agreed

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    18                  Yet at the same time, Amgen says Teva --

    19   or says Sun

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    23               The third scenario is

    24

    25                                                          , and
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                                                                        19

     1   that's one of the major bases for the discovery we

     2   asked for, which is an ancillary part of today's

     3   hearing.

     4               So going to the next slide --

     5               THE COURT:    Wouldn't it -- wouldn't it --

     6   in your view, wouldn't it make more sense if I do

     7   decide to interpret the contract -- and I understand

     8   there's a case or controversy issue out there.          But

     9   if I do decide to interpret the contract, why

    10   wouldn't it make more sense to do that and then

    11   decide whether to allow discovery, as opposed to

    12   simultaneous?

    13               MR. HOLLOWAY:    So if I understand Your

    14   Honor's question, would it -- would it make more

    15   sense to decide whether Sun's theory has merit before

    16   we get to discovery?

    17               THE COURT:    Yes.

    18               MR. HOLLOWAY:    Okay.   That's my

    19   understanding of what we're doing today at the

    20   hearing.

    21               THE COURT:    Okay.

    22               MR. HOLLOWAY:    So if you decide there's no

    23   merit, then that conversation might be shorter.          If

    24   you decide there is merit, the conversation might be

    25   even shorter.
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                                                                        20

     1                THE COURT:   Okay.

     2                MR. HOLLOWAY:   So turning to the next

     3   slide, this is -- you mentioned the case or

     4   controversy issue, Your Honor.       This is where we know

     5   there is one.     Amgen and Teva agreed that Teva

     6   wouldn't sell the product anymore.        They also entered

     7   into an agreement with Teva

     8

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    14                                       .

    15                We confirmed this when we called them

    16   shortly before filing the instant motion and said

    17

    18   There is plenty of federal circuit law out there that

    19   says that

    20                                                         .

    21                THE COURT:   What's your best case for that

    22   proposition?

    23                MR. HOLLOWAY:   That would be the Sandis

    24   case, Your Honor.     We cite it in our briefs at 480

    25   F.3d 1372.    And so -- and the fact that this Court
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                                                                        21

     1   has jurisdiction is undisputed.         Its order in this

     2   case specifically gave this Court retention and

     3   jurisdiction over the enforcement of the agreement.

     4   Amgen cites a case in its brief called the Henderson

     5   case.

     6                THE COURT:   Well, let me -- before we get

     7   to that --

     8                MR. HOLLOWAY:    Uh-huh.

     9                THE COURT:   -- what am I enforcing?      The

    10   terms of the order that I guess Judge Sleet -- yes,

    11   Judge Sleet signed says, "The Court retains

    12   jurisdiction over plaintiffs and defendants for

    13   purposes of enforcing the terms."         So tell me

    14   precisely what I would be enforcing if I agree with

    15   your position.

    16                MR. HOLLOWAY:

    17

    18

    19                                                 That's what

    20   we're enforcing.

    21                THE COURT:   And why is it -- so I'm

    22

    23                MR. HOLLOWAY:    Absolutely.    You're

    24                             .   And --

    25                THE COURT:   And why would -- why would --
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                                                                        22

     1   just to sort of understand your thinking, why

     2   wouldn't a more proper way for me to do this would

     3   be --

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    10               MR. HOLLOWAY:    So that's a rightness

    11   question as opposed to a jurisdictional question.

    12   The justiciability doctrine of rightness is a

    13   balancing test.     And as we cited in our brief, the

    14   Energy Partners case, when the interest in postponing

    15   review, which is what Amgen would suggest until the

    16   question arises in a more concrete fashion in final

    17   form, is outweighed by the immediate and practical

    18   impact on the party seeking relief.

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    23                                                It's the same

    24   dispute.    Your Honor is going to have to deal with

    25   the same issue.     This is the more judicially
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 23 of 82 PageID #: 6979

                                                                        23

     1   economical way to handle it.       Let's do it now and

     2   that way we don't have to --

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     6               THE COURT:    And it's -- any time you say

     7   judicial economy, a judge always, you know, listens,

     8   but I could -- I could argue back with you and say

     9   well, people come to -- people have problems that

    10   aren't in a courtroom all the time.        Judges can't

    11   just, you know, step in and resolve them --

    12               MR. HOLLOWAY:    So that's why --

    13               THE COURT:

    14                right?

    15               MR. HOLLOWAY:    Well, fair enough, but

    16   that's why there's a difference between the idea that

    17   this Court and Your Honor has jurisdiction to deal

    18   with the issue --

    19               THE COURT:    Yes, you've already -- you're

    20   already in a lawsuit.      You just settled it.

    21               MR. HOLLOWAY:    And then the question is

    22   whether or not the issue is currently ripe.          And I

    23   would suggest that the conversation Your Honor and I

    24   are having is a ripeness question.

    25               THE COURT:    Yes.
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 24 of 82 PageID #: 6980

                                                                        24

     1               MR. HOLLOWAY:    And that is squarely within

     2   your discretion.     Do I feel like I can better handle

     3   the dispute now or

     4                            And I would proffer that we can

     5   better handle it now

     6               .

     7               THE COURT:    Would you mind arguing from

     8   counsel table because I think I want to go back and

     9   forth and ask --

    10               MR. HOLLOWAY:    Yeah, that's fine, Your

    11   Honor.

    12               THE COURT:    -- Mr. Murnane a question, and

    13   I'll come back to you.      But they've already -- I mean

    14   we're in a lawsuit.      You settled with them.      And you

    15   asked Judge Sleet to sign, and he did sign, a

    16   provision that says, "The Court retains jurisdiction

    17   for purposes of enforcing the terms of the settlement

    18   agreement."

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    22               MR. MURNANE:    The Court does retain

    23   jurisdiction, Your Honor, for a case or controversy,

    24   and he --

    25               THE COURT:    Well, it doesn't say that.
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 25 of 82 PageID #: 6981

                                                                        25

     1               MR. MURNANE:    Well, I'm --

     2               THE COURT:    It says "for purposes of

     3   enforcing the terms of the settlement agreement."

     4               MR. MURNANE:    Yeah, and if we were truly

     5   enforcing the terms of the settlement, there would be

     6   a case or controversy, but we're not.         That's our

     7   position, Your Honor.

     8               THE COURT:    Why not?

     9               MR. MURNANE:    Because, if I may, Judge

    10   Stark has already ruled on some of these issues in

    11   the Sipla (ph) case and --

    12               THE COURT:    Is that the antitrust case?

    13               MR. MURNANE:    Well, that and -- it's

    14   antitrust and it's also the agreement, the Sipla

    15   agreement, between Amgen and Sipla, okay?

    16               THE COURT:    Do I need the -- I saw that

    17   opinion and I read some of it.       And do I need to

    18   understand that opinion --

    19               MR. MURNANE:    No, no, I'm --

    20               THE COURT:    -- to rule in this case?

    21               MR. MURNANE:    No, Your Honor, we'll talk

    22   about that.

    23               THE COURT:    Okay.

    24               MR. MURNANE:    But we -- I mention it

    25   because counsel told us two days ago that they intend
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 26 of 82 PageID #: 6982

                                                                        26

     1   to bring aspects of that case before Your Honor, so

     2   I'm bringing it up.       But as he noted there on page 8

     3   of his May 2nd opinion there, for -- if this is a

     4   breach of contract, if they're saying it is a breach

     5   of contract here, the law he cites, the VLIW Tech

     6   case here for Delaware law, so you have an existence

     7   of a contract, number one.         We have that.   Then for

     8   two, the breach of an obligation imposed by the

     9   contract.    We haven't breached any obligation imposed

    10   by the contract.     And three, resulting damage to the

    11   plaintiff.

    12                So there are three elements, and the second

    13   one, there is no obligation that we breached.          The

    14   contract terms are clear.       We didn't breach any

    15   obligation, Your Honor.

    16                THE COURT:

    17

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    20                THE COURT:    Right?

    21                MR. HOLLOWAY:    --

    22

    23                THE COURT:    You're threatening him with a

    24   breach.

    25                MR. MURNANE:    Your Honor, they haven't said
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 27 of 82 PageID #: 6983

                                                                         27

     1   to us -- although we heard what Mr. Auten said,

     2

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     4                            We have not heard that.      We have

     5   not heard

     6

     7               THE COURT:    Why -- pronounce your last name

     8   for me.

     9               MR. HOLLOWAY:      Holloway.

    10               THE COURT:    Why then did Mr. Holloway

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    12               MR. MURNANE:    He --

    13               THE COURT:    --

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    15               MR. MURNANE:    He articulated and noted

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    21               THE COURT:    Yes.

    22               MR. MURNANE:

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 28 of 82 PageID #: 6984

                                                                        28

     1               THE COURT:    Understood.    Are you ready to

     2   launch?

     3               MR. HOLLOWAY:

     4                                             , Your Honor.

     5               THE COURT:

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     7               MR. HOLLOWAY:    One second, Your Honor.

     8               THE COURT:    Sure, yes.

     9               (Pause in proceedings.)

    10               MR. HOLLOWAY:

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    15               MR. HOLLOWAY:

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    17               THE COURT:

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    19               MR. HOLLOWAY:

    20               THE COURT:    I think someone behind you

    21   wants to talk to you.

    22               (Pause in proceedings.)

    23               MR. HOLLOWAY:    Okay.

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 29 of 82 PageID #: 6985

                                                                        29

     1               THE COURT:    This is so entertaining.       I

     2   keep saying -- I keep saying

     3   and you keep coming back with a different way to say

     4   it.

     5               MR. HOLLOWAY:    Yeah, I would say -- the way

     6   I would put it, Your Honor,

     7                                                         --

     8               THE COURT:                        , right?

     9               MR. HOLLOWAY:                        .

    10               THE COURT:    Okay.    I guess I'm missing why

    11   we're -- why you're dancing around the question a

    12   little bit.

    13               MR. HOLLOWAY:    Well, the fact of the matter

    14   is

    15               .

    16               THE COURT:    Right.

    17               MR. HOLLOWAY:

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    19               THE COURT:    Of course.

    20               MR. HOLLOWAY:

    21               THE COURT:    Of course.    Of course.    Okay.

    22   Okay.   And the case you were citing from was the

    23   Sipla case that Judge Stark just authored where you

    24   said -- your point was, Mr. Murnane, it was there has

    25   to be some breach, and there has been no breach.
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                                                                        30

     1               MR. MURNANE:    Correct, Your Honor.      As

     2   we've just heard -- we're just hearing now details

     3   about this, we --

     4               THE COURT:    Right.

     5               MR. MURNANE:    -- couldn't have

     6

     7               THE COURT:    Right.

     8               MR. MURNANE:

     9               THE COURT:    Okay.    And do -- could you --

    10   just for our benefit when we go back and look at

    11   this, could you give us a cite to the Judge Stark

    12   recent case in Sipla so we can find it quick?

    13               MR. MURNANE:    He cited VLIW Tech, LLC

    14   versus Hewlett-Packard Co., 840 Atlantic 2d 606 612

    15   Delaware 2003.

    16               THE COURT:    It's a case Judge Stark relied

    17   on?

    18               MR. MURNANE:    Yes.

    19               THE COURT:    Not the -- not the case he

    20   authored?

    21               MR. MURNANE:    Correct, Your Honor.

    22               THE COURT:    Got it.

    23               MR. MURNANE:    He relied on it for those

    24   three principles that I articulated.

    25               THE COURT:    Understood.    Okay.   All right,
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 31 of 82 PageID #: 6987

                                                                          31

     1   continue.

     2               MR. HOLLOWAY:    Okay.   So going now to the

     3   substance of

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     7                            When I began, Your Honor,

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    14                                             .

    15               So Sun's position is

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    20               We cited in our brief the various Delaware

    21   cases about reading a contract as a whole, reasonable

    22   interpretation being the touchstone in Delaware law,

    23   and not reading contract terms to be superfluous.           So

    24   just

    25
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 32 of 82 PageID #: 6988

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     2               So I'll turn now to slide 5.

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    11               THE COURT:    I'm sorry, one second.         I want

    12   to -- I want to ask Mr. Murnane a question.          I

    13   thought

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    19               MR. HOLLOWAY:    Yes, Your Honor.

    20               THE COURT:    Is that your point?

    21               MR. HOLLOWAY:    Amgen's response brief at

    22   page 13 says,

    23

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    25               THE COURT:    Yes.   That's not a
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 33 of 82 PageID #: 6989

                                                                        33

     1                                    So let's ask Mr. Murnane

     2   what his view is on that.

     3               MR. MURNANE:    Your Honor, the point that

     4   counsel made

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     9               THE COURT:    All right.    And what's your

    10   support for that, for --

    11               MR. MURNANE:

    12               THE COURT:    -- what you just said?

    13               MR. MURNANE:

    14               THE COURT:    What part?

    15               MR. MURNANE:    Okay.   Okay.    Your Honor, if

    16   I -- if I -- would it be helpful if we gave you our

    17   slides, Your Honor, so you could look at them while

    18   we're --

    19               THE COURT:    Whatever you --

    20               MR. MURNANE:    Okay.

    21               THE COURT:    -- want to give me to --

    22               MR. MURNANE:    Thank you.

    23               THE COURT:    I just --

    24               MR. MURNANE:    And would Your Honor -- would

    25   Your Honor need another copy of the agreement?
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                                                                        34

     1               THE COURT:    No, I have --

     2               MR. MURNANE:    Okay.

     3               THE COURT:    -- a copy.

     4               MR. MURNANE:    Okay.

     5               THE COURT:    For the last point, which

     6   (indiscernible), I just wanted to know what your

     7   support was in the agreement.

     8               MR. MURNANE:    Okay.

     9               THE COURT:    Where is it?

    10               MR. MURNANE:    And I think if you have the

    11   slides, Your Honor --

    12               THE COURT:    I do.

    13               MR. MURNANE:    -- it will be very easy.

    14               THE COURT:    Go ahead.

    15               MR. MURNANE:    Okay.   So if we take a look

    16   at our slide number 3, Your Honor --

    17               THE COURT:    Okay, I'm there.

    18               MR. MURNANE:

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    21               THE COURT:    Yes.

    22               MR. MURNANE:

    23

    24               THE COURT:    Yes.

    25               MR. MURNANE:    That's not in controversy
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 35 of 82 PageID #: 6991

                                                                        35

     1   here.

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    10               THE COURT:    Okay.

    11               MR. MURNANE:    Okay?

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    16               THE COURT:     Got it.

    17               MR. MURNANE:

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 36 of 82 PageID #: 6992

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     6                                      If we go to the next

     7   slide, slide 6 --

     8               THE COURT:    Can you hold that thought for a

     9   second?

    10               MR. MURNANE:    Yes.

    11               THE COURT:    Because I want to confirm

    12   something you just said which I'm not --

    13               MR. MURNANE:    Uh-huh.

    14               THE COURT:    Is it generally accepted, what

    15   you just said,

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    20               MR. MURNANE:    And -- yes, Your Honor, and

    21   it's --

    22               THE COURT:    Okay.

    23               MR. MURNANE:    --

    24                                             There's no --

    25               THE COURT:    All right, go ahead.
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                                                                         37

     1               MR. MURNANE:    -- dispute about that.      Okay.

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    11               THE COURT:    Yes.

    12               MR. MURNANE:

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    17               THE COURT:    Okay.

    18               MR. MURNANE:    So now we get to slide 7.

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 38 of 82 PageID #: 6994

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     3               .   Key point here.

     4               THE COURT:    Let him -- you've said a lot.

     5               MR. MURNANE:    Okay.

     6               THE COURT:    Let him respond to that,

     7   please.

     8               MR. HOLLOWAY:    So the --

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 39 of 82 PageID #: 6995

                                                                        39

     1                                                       and my

     2   slide that summarizes this, Your Honor, is slide 7,

     3   okay?

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    11               Counsel was quoting from our brief

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    17               THE COURT:    When you

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    19               MR. HOLLOWAY:

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 40 of 82 PageID #: 6996

                                                                        40

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     2               THE COURT:    I'm -- you're ahead of me a

     3   little bit.

     4               MR. HOLLOWAY:      Sorry.

     5               THE COURT:    So

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    10               MR. HOLLOWAY:

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    12               THE COURT:    -- because it's on appeal?

    13               MR. HOLLOWAY:      Yes.

    14               THE COURT:    Did I get that right?

    15               MR. HOLLOWAY:      Yes, Amgen sought appeal.

    16   Teva had not prevailed --

    17               THE COURT:    Right.

    18               MR. HOLLOWAY:      -- at the Federal Circuit on

    19   that yet.

    20               THE COURT:    So because it's on appeal, even

    21   though they won in the district court,

    22                                              ?

    23               MR. HOLLOWAY:      I -- the way I would word

    24   it, Your Honor, is

    25
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                                                                        41

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     2               THE COURT:    Okay.

     3               MR. HOLLOWAY:    Does that make sense?

     4               THE COURT:    Yes.    Show me where it says

     5   that.

     6               MR. HOLLOWAY:

     7

     8               (Pause in proceedings.)

     9               MR. HOLLOWAY:

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    12               THE COURT:    Yes, I have the agreement.

    13               MR. HOLLOWAY:

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    17               THE COURT:    Got it.    Okay.

    18               MR. HOLLOWAY:

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     6               THE COURT:    I lost you there.

     7               MR. HOLLOWAY:    So Teva and Amgen,

     8

     9               THE COURT:    Right, right.

    10               MR. HOLLOWAY:    --           --

    11               THE COURT:    Right.

    12               MR. HOLLOWAY:    --

    13

    14               THE COURT:    Oh,

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    17               MR. HOLLOWAY:    They've agreed

    18               THE COURT:    Right.

    19               MR. HOLLOWAY:    -- They're agreed

    20

    21   that's correct.

    22               THE COURT:    Okay.

    23               MR. HOLLOWAY:    So going back to the

    24

    25
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 43 of 82 PageID #: 6999

                                                                         43

     1                THE COURT:   Yes.

     2                MR. HOLLOWAY:   What you have is

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    19                THE COURT:   Can I interrupt you?      I want to

    20   ask Mr. --

    21                MR. HOLLOWAY:   Please.

    22                THE COURT:   -- Murnane a question.

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    14               MR. MURNANE:    If I may, Your Honor?      I

    15   invite attention to --

    16               THE COURT:    Did my question make sense?       Do

    17   you understand that?

    18               MR. MURNANE:    It did, but --

    19               THE COURT:    Okay.

    20               MR. MURNANE:    -- we need to look at

    21

    22               THE COURT:    Of course.

    23               MR. MURNANE:    Okay?

    24               THE COURT:    Of course.

    25               MR. MURNANE:    And so I think the simplest
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                                                                        45

     1   thing to do would be, if we could, look at slide 16

     2   in Amgen's deck of slides.

     3               THE COURT:    Okay.   Go ahead, I'm there.

     4               MR. MURNANE:    Okay.

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    10               THE COURT:    It will help me follow you if I

    11   just read it again, so just bear with me.

    12               MR. MURNANE:    Okay.

    13               THE COURT:    I want to read it again and --

    14               MR. MURNANE:    Okay.

    15               THE COURT:    -- better understand what

    16   you're going to say.

    17               MR. MURNANE:    Thank you, Your Honor.

    18               THE COURT:    Just bear with me.

    19               (Pause in proceedings.)

    20               THE COURT:    Go ahead.

    21               MR. MURNANE:    Okay.   And that continues on

    22   to slide 17.    But the key language for us now here,

    23   Your Honor, is --

    24               THE COURT:    Yes.

    25               MR. MURNANE:    --
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     3               THE COURT:     Yes.

     4               MR. MURNANE:     -- we've pointed out before.

     5               THE COURT:     Yes.

     6               MR. MURNANE:

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    16               THE COURT:     And that's what you did.

    17               MR. MURNANE:

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    19               THE COURT:    Yes.

    20               MR. MURNANE:

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    22               THE COURT:    But --

    23               MR. MURNANE:

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    25               THE COURT:    Got it.   But as I understand
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     1   it,

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    15               MR. MURNANE:    If I may, Your Honor?

    16               THE COURT:    The Teva generic is out there

    17   in --

    18               MR. MURNANE:    Okay.

    19               THE COURT:    --                 right?

    20               MR. MURNANE:    If we could, Your Honor,

    21   let's look at my slides 18 and then 19.

    22               (Pause in proceedings.)

    23               THE COURT:    Go ahead.

    24               MR. MURNANE:    The very things Your Honor

    25   just said, counsel's predecessor counsel said in
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                                                                        48

     1   2017.   And as Mr. Auten said before he left, you

     2   know, the brand usually writes the first draft, so we

     3   have the first draft.

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    16                                     The next slide shows --

    17               THE COURT:    But does that -- does that --

    18   maybe I missed it, but does that address my question,

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 49 of 82 PageID #: 7005

                                                                        49

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     2                MR. MURNANE:   They said it was and they

     3   said to avoid that harm --

     4                THE COURT:   Yes.

     5                MR. MURNANE:   --

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     8                THE COURT:   Yes, how is that possible?

     9                MR. MURNANE:

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    16                THE COURT:   Now, is this -- is this comment

    17   box the back and forth between prior counsel for Sun

    18   and you --

    19                MR. MURNANE:   Yes.

    20                THE COURT:   -- in drafting the --

    21                MR. MURNANE:   Yes.

    22                THE COURT:   --

    23                MR. MURNANE:   Yes, Your Honor.     Addressing

    24   the very concern -- the very concern -- and you'll

    25   see in the box --
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                                                                             50

     1               THE COURT:    It feels like a parol evidence

     2   rule, but maybe not.

     3               MR. MURNANE:    Right.

     4               THE COURT:    But go ahead.

     5               MR. MURNANE:    Well, and on that point,       if

     6   I may, Your Honor --

     7               THE COURT:    Well, finish your point --

     8               MR. MURNANE:    Okay.    All right.

     9               THE COURT:    -- because we're already

    10   talking about it.

    11               MR. MURNANE:    Okay.

    12               THE COURT:    So go ahead.

    13               MR. MURNANE:    So here, predecessor counsel

    14   says,

    15

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    18                                         exactly what Your

    19   Honor was talking about.

    20               THE COURT:    Yes.

    21               MR. MURNANE:    That's what they -- that's

    22   what                                                            .

    23   The next slide 20 --

    24               THE COURT:     Yes, but their counsel

    25   expressed                                             It's
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     2               MR. MURNANE:    Well --

     3               THE COURT:    --

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     5               MR. MURNANE:    Yeah, but he's saying is the

     6   same point.

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     8               THE COURT:    Right.   So how does that

     9   advance your point?      I'm not following.

    10               MR. MURNANE:    My point is, Your Honor, that

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    21                                                       No one

    22   else has interpreted this agreement -- and Judge

    23   Stark, if I may, Your Honor, on pages --

    24               THE COURT:     I missed that point.

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 52 of 82 PageID #: 7008

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     3               MR. HOLLOWAY:

     4               THE COURT:    Okay.

     5               MR. HOLLOWAY:                       e.

     6               THE COURT:

     7               MR. MURNANE:    And if I may, Your Honor?

     8   Judge Stark's opinion on Sipla, pages 6 and 27 to 28,

     9   said Sipla is not licensed, okay?        And he looked at

    10   this for a fair -- to a fare-thee-well over the

    11   months of January, February, March, April, May, okay?

    12   He said they're not licensed, okay?

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    18                And do you know what that means, Your

    19   Honor?

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 53 of 82 PageID #: 7009

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     1               MR. HOLLOWAY:    If I may, Your Honor?      I

     2   want to start with that last point.

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     5               THE COURT:    Is the Judge Stark --

     6               MR. HOLLOWAY:    Amgen breached the --

     7               THE COURT:    -- case an antitrust case?

     8               MR. HOLLOWAY:    Say it again.

     9               THE COURT:    Is the Judge Stark cause-of-

    10   action case that we're talking about, isn't it an

    11   antitrust case?

    12               MR. HOLLOWAY:    I'll let counsel for Amgen

    13   try --

    14               THE COURT:    Is --

    15               MR. HOLLOWAY:    -- to describe that.

    16               MR. MURNANE:    That was -- that was

    17   initially brought as an antitrust case and patent

    18   misuse case, and --

    19               THE COURT:    Right.

    20               MR. MURNANE:    -- Judge Stark ultimately

    21   ruled based on

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 54 of 82 PageID #: 7010

                                                                        54

     1               THE COURT:    With --

     2               MR. MURNANE:    It was --

     3               THE COURT:    Settlement agreement with?

     4               MR. MURNANE:    Amgen.

     5               THE COURT:    And?

     6               MR. MURNANE:    Sipla.

     7               THE COURT:    Similar to this?

     8               MR. MURNANE:    Yes.

     9               THE COURT:    Verbatim like this?

    10               MR. MURNANE:

    11

    12               THE COURT:

    13               MR. MURNANE:

    14               THE COURT:    So you're encouraging me to

    15   read carefully -- I've scanned -- read carefully

    16   Judge Stark's opinion because it interprets -- excuse

    17   me --

    18               MR. MURNANE:

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    20               THE COURT:    Okay.

    21               MR. MURNANE:    With respect to the

    22                                           Your Honor.

    23               THE COURT:    Yes, okay.    All right, go

    24   ahead.

    25               MR. HOLLOWAY:    The -- I would agree with
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 55 of 82 PageID #: 7011

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     1   Your Honor

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    21                To the parol evidence point, Your Honor --

    22                THE COURT:

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    24                MR. HOLLOWAY:   Yes, Your Honor.

    25                THE COURT:   Go ahead.
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 56 of 82 PageID #: 7012

                                                                        56

     1               MR. HOLLOWAY:

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     3               THE COURT:    Go ahead.

     4               MR. HOLLOWAY:    -- be specific.

     5               THE COURT:    Yes.   Yes.

     6               MR. HOLLOWAY:    To the parol evidence point

     7   that we've walked through, Sun didn't bring up the

     8   parol evidence in this case.       Amgen did on response.

     9   The reason we addressed it in our reply is because

    10   they mischaracterized it, just as counsel just did.

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    22               Counsel for Amgen says

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 57 of 82 PageID #: 7013

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    16               THE COURT:

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    18               MR. HOLLOWAY:

    19               THE COURT:    How?

    20               MR. HOLLOWAY:

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    25               THE COURT:    It sounds more complicated than
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 58 of 82 PageID #: 7014
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 59 of 82 PageID #: 7015

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     3             We also know that because in the

     4   injunction -- agreed-to injunction with Piramal,

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    11               The other aspect of discovery that we

    12   originally requested and served on Amgen

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    17               THE COURT:    What does that have to do with

    18   my interpretation of the

    19               MR. HOLLOWAY:

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    22               THE COURT:

    23                                                    I thought

    24   you -- it's pretty simple.

    25               MR. HOLLOWAY:    Sure.
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 60 of 82 PageID #: 7016

                                                                        60

     1               THE COURT:

     2                    I thought that was your -- that was

     3   your position.

     4               MR. HOLLOWAY:

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     8                                                           I

     9   don't know what their conversations were.

    10               THE COURT:    Right.

    11               MR. HOLLOWAY:

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    13                       Our position in our briefing has

    14   always been that is one thing, but we don't have the

    15   discovery on that to make that allegation.          We think

    16   we've pled enough to get the discovery into that.

    17   What Your Honor could rule on today --

    18               THE COURT:    I'm sorry to interrupt you.

    19               MR. HOLLOWAY:    Uh-huh.

    20               THE COURT:    What -- in this business, what

    21   would --

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    24               MR. HOLLOWAY:    It could --

    25               THE COURT:    -- that says --
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 61 of 82 PageID #: 7017

                                                                        61

     1               MR. HOLLOWAY:    It could even

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     4               THE COURT:    Yes.

     5               MR. HOLLOWAY:

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     7               THE COURT:    Yes.

     8               MR. HOLLOWAY:

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    23               The second part, Your Honor, that you could

    24   rule on today based on the summary that we just

    25   walked through of what we've gleaned from both the
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 62 of 82 PageID #: 7018

                                                                        62

     1   Sipla order --

     2                THE COURT:   I'm not ruling on anything

     3   today.

     4                MR. HOLLOWAY:   I'm just saying --

     5                THE COURT:   You didn't mean that literally,

     6   but --

     7                MR. HOLLOWAY:   Not needing discovery.

     8                THE COURT:   Right.

     9                MR. HOLLOWAY:   That's what I was meaning.

    10                THE COURT:   Right.   Okay.

    11                MR. HOLLOWAY:   Without needing further

    12   discovery,

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    14                THE COURT:   Right.

    15                MR. HOLLOWAY:   And just to -- just to

    16   continue

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    19            at my slide 11, I kind of break this down.

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 63 of 82 PageID #: 7019

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     8                                          ,

     9                                              -- that was the

    10   language that counsel emphasized, that

    11                               d we'll talk about that --

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    13                                    That's the language that

    14   came about

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    18                So you have these two options

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    22                Counsel emphasizes that when it says

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    25                         That would not be a permissible
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 64 of 82 PageID #: 7020

                                                                        64

     1   read under the agreement.       It would make the terms

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    17               What happened here with Teva and Piramal is

    18   that Amgen entered into agreements that blessed the

    19   downstream sales, allowed them to keep going on.

    20   They've done nothing as it pertains to the

    21   distributors.     The injunction that they got

    22   specifically says it doesn't impact them.         So --

    23               THE COURT:    Do you know who Teva sold to

    24   when you say

    25               MR. HOLLOWAY:    We said in our brief, Your
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 65 of 82 PageID #: 7021

                                                                        65

     1   Honor, at page -- at page 3, we said

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     4               THE COURT:    What's that?

     5               MR. HOLLOWAY:    -

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     8               THE COURT:    Right.

     9               MR. HOLLOWAY:

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    12                        -

    13               THE COURT:    Right.

    14               MR. HOLLOWAY:    --                 --

    15               THE COURT:    Do you --

    16               MR. HOLLOWAY:    --

    17               THE COURT:    Do you have any sense without

    18   having discovery of how much was sold

    19

    20               MR. HOLLOWAY:

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    22               THE COURT:    Yes.

    23               MR. HOLLOWAY:    That's why we said

    24          It was kind of --

    25               THE COURT:    Do you --
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 66 of 82 PageID #: 7022

                                                                         66

     1               MR. HOLLOWAY:    -- an information and

     2   belief.

     3               THE COURT:    Do you have a guestimate as to

     4   how much was sold (indiscernible)?

     5               MR. HOLLOWAY:    It's actually described in

     6   pretty good detail in Judge Stark's Sipla order.           It

     7   was estimated -- Teva estimated they were going to

     8   sell upwards of $212 million worth of product.          As --

     9   Judge Stark notes at page 4 of the Sipla order that

    10   Teva launched by shipping 409,128 bottles to

    11   wholesalers.    So --

    12               THE COURT:    On the five quietest business

    13   days of the calendar year.       I wonder if that -- I'm

    14   just curious --

    15               MR. HOLLOWAY:    Yeah.

    16               THE COURT:    -- whether that has anything to

    17   do with anything or it's just coincidence.

    18               MR. HOLLOWAY:    Well, that's part of the

    19   allegation we made, Your Honor, is that even --

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 67 of 82 PageID #: 7023

                                                                        67

     1   That's why it seems like there's -- you know, where

     2   there's smoke there might be fire, and that's why we

     3   made those allegations.

     4                THE COURT:   Okay.   I'm sure there's a lot,

     5   Mr. Murnane, so we'll give --

     6                MR. MURNANE:   Yeah.

     7                THE COURT:   -- Mr. Murnane the I think -- I

     8   think the last word.      But let's see what he has to

     9   say.   Maybe I'll let you respond.       Go ahead, whatever

    10   you want to say in response to what counsel said.

    11                MR. MURNANE:   Thank you, Your Honor.

    12                THE COURT:   Sure.

    13                MR. MURNANE:   With respect to Your Honor's

    14   comment on the time of year when this happened, the

    15   facts are the FDA approved Teva's ANDA on December

    16   27th, 2018.

    17                THE COURT:   That's -- that was an aside

    18   comment --

    19                MR. MURNANE:   Teva --

    20                THE COURT:   -- I probably should have just

    21   kept to myself.

    22                MR. MURNANE:   Well, just to let Your Honor

    23   know --

    24                THE COURT:   Yes.

    25                MR. MURNANE:   Well, Your Honor made a side
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 68 of 82 PageID #: 7024

                                                                        68

     1   comment.    Opposing counsel made more than a side

     2   comment, okay?     So Teva --

     3               THE COURT:    I don't see how it's going to

     4   factor into my decision.

     5               MR. MURNANE:    Teva launched the next day

     6   and there was the settlement.

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    25               Again, if we look at the slide 16 where
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 69 of 82 PageID #: 7025

                                                                        69

     1   it's referring to

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    15               THE COURT:    I mentioned that to Sun's

    16   counsel, I thought it was -- you know, picking up the

    17   phone and making a phone call seemed impractical,

    18   but, you know -

    19               MR. MURNANE:    So, Your Honor, it would.

    20   That's why we have these deals, okay?

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    25                                The product was sold between
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 70 of 82 PageID #: 7026

                                                                        70

     1   December 28th and January 2nd, and

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    15                And it's really that, Your Honor.

    16               If we could go back to some of the slides

    17   that we were talking about previously, and we

    18   stopped.    Oh, if I may?    Just one point, Your Honor.

    19   The notion of being --

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 71 of 82 PageID #: 7027

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     5               THE COURT:    Could you -- could you bear

     6   with me one second?      I want to --

     7               MR. MURNANE:    Sure.

     8               THE COURT:

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    10               MR. MURNANE:    Uh-huh.

    11               THE COURT:    Just give me one second.

    12               (Pause in proceedings.)

    13               THE COURT:    Go ahead.

    14               MR. MURNANE:    Okay.   If I -- if I may

    15   invite attention back to -- I'm just responding to

    16   comments that counsel made, Your Honor --

    17               THE COURT:    Yes.

    18               MR. MURNANE:    -- back to slide -- our slide

    19   16 -- 16 and 17.     Counsel focused on

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    17                         .   Again, the language is very

    18   clear.

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 73 of 82 PageID #: 7029

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     8                  That's what's critical here.

     9               If we look at the next slide, slide 10, our

    10   slide 10, Your Honor, there we've correctly noted

    11   that

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Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 74 of 82 PageID #: 7030

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     5               THE COURT:    So what did -- to general --

     6   sort of step back from all these details questions,

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    11               MR. MURNANE:    Right.

    12               THE COURT:

    13               MR. MURNANE:

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    16               THE COURT:    In         --

    17               MR. MURNANE:

    18               THE COURT:    -- right?

    19               MR. MURNANE:    I think

    20               THE COURT:

    21                                             .   That's --

    22               MR. MURNANE:    That's what they've bargained

    23   for, Your Honor.

    24               THE COURT:    That's a long time, right?

    25               MR. MURNANE:    Well, that's what they --
Case 1:16-cv-00853-MSG Document 484 Filed 07/09/19 Page 75 of 82 PageID #: 7031

                                                                        75

     1   that's what they bargained for.

     2               THE COURT:    Okay.

     3               MR. MURNANE:    Or --

     4               THE COURT:    Or --

     5               MR. MURNANE:    -- if                   --

     6               THE COURT:    Right.

     7               MR. MURNANE:    -- under     --

     8               THE COURT:    Okay.

     9               MR. MURNANE:    --

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    12               THE COURT:    Right.

    13               MR. MURNANE:                          .

    14               THE COURT:    Which is what this discussion

    15   has been about, so --

    16               MR. MURNANE:    Exactly.

    17               THE COURT:    -- I'm still sort of wondering

    18   why this was a -- maybe this is something I shouldn't

    19   be thinking about, but I'm sort of wondering

    20

    21               MR. MURNANE:    What --

    22               THE COURT:    They -- you're -- if I accept

    23   what you're saying,

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    25               MR. MURNANE:    Or --
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                                                                        76

     1               THE COURT:    --

     2               MR. MURNANE:

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     4               THE COURT:    Okay.

     5               MR. MURNANE:    --

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    12               THE COURT:    I understand that argument.

    13               MR. MURNANE:

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    15               THE COURT:    Understood.    I want to ask Mr.

    16   Holloway,

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    19               MR. HOLLOWAY:      We didn't bring it up, we

    20   just responded to it.

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    25               THE COURT:    You can't have it both ways.
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                                                                        77

     1                MR. HOLLOWAY:   But --

     2                THE COURT:   You can't say don't consider

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     5                MR. HOLLOWAY:   Yeah, I don't --

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     9                THE COURT:   Okay.

    10                MR. HOLLOWAY:

    11

    12                THE COURT:   Understood.

    13                MR. HOLLOWAY:   -- of it, Your Honor.

    14                THE COURT:   Okay.   Excuse me one second.

    15                (Pause in proceedings.)

    16                THE COURT:   Okay.   Good discussion.     I'll

    17   let both counsel summarize if you think it's

    18   necessary.    I think we really covered a lot of

    19   ground, but if there's another point that you believe

    20   hasn't been made because we've had a -- sort of a Q

    21   and A, I'll listen to any further points you want to

    22   make.

    23                I have one final question.

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     5               MR. HOLLOWAY:

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     8               THE COURT:

     9               MR. HOLLOWAY:

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    11               THE COURT:

    12               MR. HOLLOWAY:

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    15               THE COURT:    Yes.

    16               MR. HOLLOWAY:

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    19               THE COURT:    Got it.   Okay.

    20

    21               MR. MURNANE:

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    23               THE COURT:    So --

    24               MR. MURNANE:

    25   Your Honor.
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                                                                          79

     1               THE COURT:    Yes.

     2               MR. MURNANE:

     3               THE COURT:    Yes.

     4               MR. MURNANE:

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    10               THE COURT:

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    12               MR. MURNANE:

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    14               THE COURT:    Okay.

    15               MR. MURNANE:

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    17               THE COURT:    Okay.   Mr. Holloway, any final

    18   points you think you haven't made that you want to

    19   make?

    20               MR. HOLLOWAY:    I made it just then, Your

    21   Honor.

    22               THE COURT:    All of the above, everything

    23   we've been talking about.

    24               MR. HOLLOWAY:    Yeah, that's it.

    25               THE COURT:    Okay.   You're good?    Okay.    Mr.
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                                                                        80

     1   Murnane, anything else you want to -- you want to

     2   say?

     3               MR. MURNANE:    If I may just address

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     5               THE COURT:    Sure.

     6               MR. MURNANE:    -- point that --

     7               THE COURT:    Go ahead.

     8               MR. MURNANE:    -- counsel made?

     9               THE COURT:    Yes.

    10               MR. MURNANE:    Your Honor,

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    19                                                          if

    20   there's -- if Your Honor believes

    21                                     In this case,

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     3               THE COURT:    Okay.   All right, thank you to

     4   both counsel.     Would you submit a proposed sealing

     5   draft order?

     6               MR. HOLLOWAY:    Yes, Your Honor.

     7               THE COURT:    I think I've articulated the

     8   reasons and we'll see -- we'll see how that goes.

     9   Okay.   Thank you, everybody.       Good afternoon.

    10               MR. MURNANE:    Thank you, Your Honor, and

    11   good afternoon.

    12               (Proceedings adjourned, 3:30 p.m.)

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